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                        IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF PENNSYLVANIA


 RICHARD A. GORMAN,
                        Plaintiff,
                v.                                         CIVIL ACTION NO. 20-4759

 ILYA SHPETRIK,
                        Defendant.


                                              ORDER

       AND NOW, this 5th day of May 2022, upon consideration of Defendant’s unopposed

request for an extension of time to respond to Plaintiff’s Complaint (attached), it is hereby

ORDERED that the request is DENIED without prejudice. Defendant may file a motion

setting forth the basis for this fourth request for an extension of time, or shall answer Plaintiff’s

Complaint no later than May 9, 2022.

       It is so ORDERED.

                                                           BY THE COURT:

                                                           /s/ Cynthia M. Rufe
                                                           _____________________
                                                           CYNTHIA M. RUFE, J.
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                                                                          Matthew Faranda-Diedrich
                                                                          Partner
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                                                                          Email: mfd@rccblaw.com

                                                                          May 3, 2022

Via Email (Chambers_of_Judge_Cynthia_M_Rufe@paed.uscourts.gov)
Honorable Cynthia M. Rufe
12614 U.S. Courthouse
601 Market Street
Philadelphia, PA 19106
Courtroom 12-A


       RE:       Richard A. Gorman v. Illya Shpetrik
                 U.S. District Court for the Easter District of Pennsylvania, No. 2:20-cv-04759


Dear Judge Rufe,

Our office represents Defendant, Illya Shpetrik (“Defendant”) in the above-mentioned matter. We
write jointly on behalf of all parties to respectfully request another extension of time for Defendant
to Answer Plaintiff’s Complaint (Docket Entry #1) until May 19, 2022.

We thank Your Honor for the consideration.

                                                          Respectfully,




                                                          Matthew Faranda-Diedrich

MFD:dme

cc:    George Schooff, Esquire (via email schooff@legalservicesgrouppllc.com)
       Matthew J. Press, Esquire (via email mpress@presskoral.com)


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